Case 1:06-cr-00164-SEB-DML Document 24 Filed 05/25/22 Page 1 of 1 PageID #: 69




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

UNITED STATES OF AMERICA,                             )
                                                      )
                              Plaintiff,              )
                                                      )
                         v.                           )     No. 1:06-cr-00164-SEB-DML
                                                      )
TIMOTHY R LISBY,                                      ) -01
                                                      )
                              Defendant.              )


                ORDER ADOPTING REPORT AND RECOMMENDATION

       Having reviewed Magistrate Judge Debra McVicker Lynch’s Report and

Recommendation that Timothy R. Lisby’s supervised release be revoked, pursuant to Title 18,

U.S.C. §3401(i) and Rule 32.1(a)(1) Federal Rules of Criminal Procedure and Title 18 U.S.C.

§3583, the Court now approves and adopts the Report and Recommendation as the entry of the

Court, and orders a sentence imposed of imprisonment of six (6) months in the custody of the

Attorney General or his designee, with lifetime supervised release to follow. In addition to the

mandatory conditions of supervision, the conditions of supervised release outlined in the Report and

Recommendation will be imposed. The Court recommends placement at FCC Butner.

       SO ORDERED.


       Date: ______________________
                5/25/2022                          _______________________________
                                                    SARAH EVANS BARKER, JUDGE
                                                    United States District Court
                                                    Southern District of Indiana
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